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                   IN THE UNITED STATES DISTRIC COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________________
                                            )
AYMAN SAIED JOUMAA                          )
                        Plaintiff,          )
                                            )   Civil Action No. 17-2780 (TJK)
      v.                                    )
                                            )
STEVEN MNUCHIN, et al.                      )
                        Defendants.         )
___________________________________________)

                             PROVISION OF JOINT APPENDIX

       Pursuant to Local Civil Rule 7(n), Plaintiff is hereby providing the joint appendix

“containing copies of those portions of the administrative record that are cited or otherwise relied

upon in [the] memorand[a] in support of or in opposition to [the] dispositive motion[s]” at issue.

The joint appendix has been agreed on by the parties, consistent with Local Civil Rule 7(n)(2).



Dated: February 28, 2019                                     Respectfully submitted, 

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